          Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 1 of 7
                                                                                                 United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                        November 14, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                    Case No. 24-90533 (ARP)

                                                                     (Joint Administration Requested)
                                       Debtors.
                                                                     Re: Docket No. 15

             AMENDED ORDER (I) AUTHORIZING THE DEBTORS TO
           (A) HONOR AND INCUR OBLIGATIONS TO PROFESSIONAL
      CORPORATIONS AND (B) OBTAIN NEW PROFESSIONAL CORPORATION
         CONTRACTS, (II) EXTENDING STATUTORY PROTECTIONS TO
     PROFESSIONAL CORPORATIONS, AND (III) GRANTING RELATED RELIEF

         Upon the emergency motion (the “Motion”)2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing, but

not directing, the Debtors to (i) honor, pay, or otherwise satisfy any and all prepetition and post-

petition obligations incurred in relation to the Professional Corporations, including obligations

pursuant to the Existing Professional Corporation Contracts and (ii) enter into and honor, pay, or

otherwise satisfy any and all prepetition and post-petition obligations related to attracting, seeking,

entering into, and maintaining New Professional Corporation Contracts, (b) extending the

(i) automatic stay under section 362 of the Bankruptcy Code and (ii) Anti-discrimination

Provisions, to the Professional Corporations on a limited basis, (c) authorizing the applicable banks

and financial institutions to receive, process, honor, and pay all checks or wire transfers used by

the Debtors to pay and satisfy the foregoing, and (d) granting related relief, as more fully described



1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
    claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11
    cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
         Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 2 of 7




in the Motion; and this Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334 and the Order of Reference to Bankruptcy Judges, General

Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa, C.J.); and this Court having found that this is

a core proceeding pursuant to 28 U.S.C. § 157; and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court having found

that venue of these chapter 11 cases and related proceedings being proper in this district pursuant

to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

the Notice Parties, such notice having been adequate and appropriate under the circumstances, and

it appearing that no other or further notice need be provided; and this Court having reviewed and

considered the Motion and the First Day Declaration; and this Court having held a hearing to

consider the relief requested in the Motion on a final basis (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and the First Day Declaration

and at the Hearing establish just cause for the relief granted herein; and this Court having found

that the relief requested in the Motion is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest; and this Court having determined that the relief requested

in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates

as contemplated by Bankruptcy Rule 6003; and all objections and reservations of rights filed or

asserted in respect of the Motion, if any, having been withdrawn, resolved, or overruled; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is hereby

       ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Debtors are authorized, but not directed, to honor, pay, or otherwise satisfy any

and all prepetition and post-petition obligations incurred in relation to the Professional

                                                  2
         Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 3 of 7




Corporations, including obligations pursuant to Existing Professional Corporation Contracts in the

ordinary course of business.

       2.      The Debtors are authorized, but not directed, to enter into New Professional

Corporation Contracts, in the ordinary course of business; provide, however, that the Debtors must

provide counsel to the DIP Lenders and counsel to the Ad Hoc Group at least five business days’

advance notice prior to entering into any New Professional Corporations Contracts.

       3.      The Debtors’ contractual relationships with the Professional Corporations and the

PC Physicians, and the Professional Corporation Contracts are entitled to the protections set forth

in sections 541(c) and 365(e) of the Bankruptcy Code to the maximum extent permitted by law.

       4.      Subject to paragraphs 6 and 7 below, pursuant to section 362 of the Bankruptcy

Code, the commencement of these chapter 11 cases shall operate as an interim stay pending further

order by the Court, applicable to all persons (and all those acting for or on their behalf) and all

governmental units (and all those acting for or on their behalf), of:

               a.   the commencement or continuation, including the issuance or employment of
                    process, of a judicial, administrative, or other action or proceeding against any
                    Professional Corporation that (i) was or could have been commenced before
                    the Petition Date, or an act to recover a claim against any Professional
                    Corporation that arose prior to the Petition Date, and (ii) may trigger the
                    Debtors’ indemnity obligations to such Professional Corporation under
                    the applicable Professional Corporation Contract or such Professional
                    Corporations’ organizational documents;

               b.   the enforcement, against any Professional Corporation or against property of
                    any Professional Corporation, of a judgment (i) obtained before the Petition
                    Date and (ii) which triggered the Debtors’ indemnity obligations to such
                    Professional Corporation under the applicable Professional Corporation
                    Contract or such Professional Corporations’ organizational documents;

               c.   any act to obtain possession of, or exercise control over, property of any
                    Professional Corporation that may trigger the Debtors’ indemnity obligations
                    to such Professional Corporation under the applicable Professional
                    Corporation Contract or such Professional Corporations’ organizational
                    documents;
                                                  3
        Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 4 of 7




               d.   any act to create, perfect, or enforce any lien against property of any
                    Professional Corporation to the extent that (i) such lien secures a claim that
                    arose before the Petition Date and (ii) it triggered the Debtors’ indemnity
                    obligations to such Professional Corporation under the applicable
                    Professional Corporation Contract or such Professional Corporations’
                    organizational documents; and

               e.   any act to collect, assess, or recover a claim against any Professional
                    Corporation that (i) arose before the Petition Date and (ii) may trigger the
                    Debtors’ indemnity obligations to such Professional Corporation under
                    the applicable Professional Corporation Contract or such Professional
                    Corporations’ organizational documents.

       5.      Subject to paragraphs 6 and 7 below and pending further order by the Court,

pursuant to section 525 of the Bankruptcy Code (and subject to the exceptions set forth in section

525(a) of the Bankruptcy Code), a governmental unit may not deny, revoke, suspend, or refuse to

renew a license, permit, charter, franchise, or other similar grant to, condition such grant to,

discriminate with respect to such a grant against, deny employment to, terminate the employment

of, or discriminate with respect to employment against, any Professional Corporation on account

of (a) the commencement of these chapter 11 cases, (b) the Debtors’ insolvency, or (c) the fact that

the Debtors have not paid a debt that is dischargeable in these chapter 11 cases.

       6.      Within five business days of the date hereof, the Debtors shall serve a copy of this

Order on the Notice Parties and each plaintiff (or, where applicable, their counsel) in any lawsuit

filed as of the Petition Date in which a Debtor is named as one of the defendants therein, and all

persons and governmental entities listed on the certificate of service filed in connection with such

service (the “Service Notice”) shall be bound by the relief granted in paragraphs 4 or 5 of this

Order on an interim basis pending entry of a further order of this Court.

       7.      Nothing contained herein shall prejudice any person’s or governmental unit’s right

to object to the relief granted in paragraphs 4 or 5 of this Order (a “Section 362/525 Objection”);

however, such Section 362/525 Objection must (a) be in writing, (b) comply with the Bankruptcy
                                                 4
         Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 5 of 7




Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the Procedures for Complex Cases

in the Southern District of Texas, (c) state, with specificity, the legal and factual bases thereof, and

(d) be filed with this Court and served on the Debtors so as to be actually received on or before

4:00 p.m. (prevailing Central Time) on December 27, 2024 (which shall not be less than 44 days

after the date hereof) (the “Objection Deadline”). Any person or governmental entity listed on the

Service Notice that fails to timely file and serve a Section 362/525 Objection shall be bound by,

and be prohibited from contesting, the relief granted in paragraphs 4 and 5 of this Order, as the

Court may enter an order granting the relief set forth in paragraphs 4 or 5 of this Order on a final

basis without the need for a final hearing. If a Section 362/525 Objection is timely filed and served,

the Debtors may, without further order from this Court, resolve such Section 362/525 Objection

by mutual agreement with the objecting party. If any Section 362/525 Objections are filed and not

resolved prior to the expiration of the Objection Deadline, a hearing shall be held on January 14,

2025 at 9:00 a.m. (prevailing Central Time) to adjudicate said Section 362/525 Objection(s).

       8.       Nothing in this Order shall prejudice the right of any creditor to seek relief from

the automatic stay pursuant to section 362 of the Bankruptcy Code.

       9.      Nothing in this Order shall limit the applicability of section 362(b) of the

Bankruptcy Code.

       10.     Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law, (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds, (c) a promise or requirement to pay any claim, (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

                                                   5
         Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 6 of 7




granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim, (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease (including any Professional Corporation

Contract) pursuant to section 365 of the Bankruptcy Code, (f) an admission as to the validity,

priority, enforceability, or perfection of any lien on, security interest in, or other encumbrance on

property of the Debtors’ estates, (g) a waiver or limitation of the Debtors’, or any other party in

interest’s, rights under the Bankruptcy Code or any other applicable law, or (h) a concession by

the Debtors that any liens (contractual, common law, statutory, or otherwise) that may be satisfied

pursuant to the relief requested in the Motion are valid, and the rights of all parties in interest are

expressly reserved to contest the extent, validity, or perfection or seek avoidance of all such liens.

       11.     Notwithstanding anything to the contrary in this Order, in the event of any conflict

or inconsistency between the terms of this Order and the terms of any order of this Court approving

the post-petition secured debtor-in-possession financing facility and the use of cash collateral (any

such order, a “Financing Order”), including any documentation with respect to such financing and

any budget or cash flow forecasts in connection therewith, the terms of the applicable Financing

Order (including any documentation with respect to such financing and any budget or cash flow

forecasts in connection therewith) shall govern. Nothing herein is intended to modify, alter, or

waive, in any way, any terms, provisions, requirements, or restrictions of any Financing Order.

       12.     All applicable banks and financial institutions are hereby authorized to receive,

process, honor, and pay all such checks, drafts, wire transfers, and other forms of payment

evidencing amounts paid by the Debtors under this Order, regardless of whether presented prior

to, on, or after the Petition Date. Such banks and financial institutions are authorized to rely on

the representations of the Debtors as to which checks and fund transfers are issued or authorized

                                                  6
         Case 24-90533 Document 91 Filed in TXSB on 11/14/24 Page 7 of 7




to be paid pursuant to this Order without any duty of further inquiry and without liability for

following the Debtors’ instructions.

       13.     The Debtors are authorized, but not required, to issue, in their sole discretion, new

post-petition checks, or to effect post-petition fund transfers, for obligations relating to the

Professional Corporations to replace any checks, drafts, wire transfers, and other forms of payment

that have been dishonored or rejected.

       14.     Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Order is hereby waived, and the terms and conditions of this Order shall be

effective and enforceable immediately upon its entry.

       15.     The Debtors are authorized to take any action necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Order without seeking further

order of this Court.

       16.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Order.

Dated:
Signed:__________, 2024
        November 14, 2024
Houston, Texas                                UNITED STATES BANKRUPTCY JUDGE

                                                          _____________________________
                                                          Alfredo R Pérez
                                                          United States Bankruptcy Judge




                                                 7
